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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 SECULAR STUDENT ALLIANCE, et al.,

               Plaintiffs,

 v.
                                                       CASE NO.: 1:21-cv-00169-ABJ
 U.S. DEPARTMENT OF EDUCATION, et al.,

               Defendants.


                                  JOINT STATUS REPORT

      The Parties hereby submit the following status report in accordance with the Court’s

February 22, 2022 Minute Order:

      1. The Secular Student Alliance (“SSA”) and Mr. Declan Galli filed this suit on January

          19, 2021, challenging a provision of the U.S. Department of Education’s (“ED”)

          rulemaking entitled “Direct Grant Programs, State-Administered Formula Grant

          Programs, Non Discrimination on the Basis of Sex in Education Programs or Activities

          Receiving Federal Financial Assistance, Developing Hispanic-Serving Institutions

          Program, Strengthening Institutions Program, Strengthening Historically Black

          Colleges and Universities Program, and Strengthening Historically Black Graduate

          Institutions Program” (“the Rule”), 85 Fed. Reg. 59,916 (Sept. 23, 2020). ECF No. 1.

      2. On January 20, 2021 new leadership assumed responsibility for ED.

      3. ED previously informed undersigned counsel for Defendants that it is considering

          regulatory options related to the Rule that may moot or limit the issues in this litigation.

          See ECF Nos. 21, 22.

      4. To preserve judicial resources and maximize the efficient resolution of this case, the

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   Parties jointly requested that the Court stay this case to allow Defendants time to

   consider regulatory options related to the Rule. The Court granted the Parties’ motion

   to stay on April 21, 2021.

5. On August 19, 2021, ED published a blog post entitled “Update on the Free Inquiry

   Rule.” https://blog.ed.gov/2021/08/update-on-the-free-inquiry-rule/. Therein, ED

   stated that, “[f]ollowing completion of [its] review” of the aspects of the Rule codified

   in 34 CFR parts 75 and 76, it “anticipate[s] publishing a notice of proposed rulemaking

   in the Federal Register to propose rescinding parts of the Free Inquiry Rule.” Id.

6. In light of ED’s stated intent to propose rescission of portions of the Rule, the Parties

   agreed that a further stay of this case was appropriate for an additional 60 days, and

   proposed that the Parties file a joint status report in 60 days to update the Court on ED’s

   regulatory activities related to the Rule and the Parties’ positions on whether the case

   should continue to be stayed. See ECF No. 24. That same day, the Court continued the

   stay and ordered another joint status report by October 19, 2021. See Minute Order

   (Aug. 20, 2021).

7. On October 19, the Parties filed a joint status report updating this Court on the status

   of ED’s regulatory actions. See ECF No. 26. ED stated that it intended to publish an

   entry in the Fall 2021 Unified Agenda announcing ED’s intent to publish a Notice of

   Proposed Rulemaking that will propose rescinding provisions of the Free Inquiry Rule.

   ED also stated that it was targeting a publication date of Spring 2022 for the Notice of

   Proposed Rulemaking. In light of ED’s anticipated regulatory actions, the Parties

   agreed that a further stay of this case was appropriate, and they requested that this Court

   continue the stay of these proceedings. See ECF No. 26. The Court did so and ordered



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   the Parties to submit another joint status report by February 18, 2022. See Minute Order

   (Oct. 20, 2021).

8. On February 18, 2022, the Parties filed a joint status report, updating the Court that ED

   had published an entry in the Fall 2021 Unified Agenda announcing ED’s intent to

   publish a Notice of Proposed Rulemaking that will propose rescinding provisions of

   the Free Inquiry Rule and that it continued to make progress towards publication of this

   Notice of Proposed Rulemaking. See ECF No. 27. In light of ED’s continued progress,

   the Parties asked the Court to continue the stay of proceedings, with the Parties filing

   another joint status report in 120 days. Id. The Court granted the request and ordered

   the Parties to submit a joint status report by June 28, 2022. See Minute Order (February

   22, 2022).

9. Since that order, ED has continued to work on a Notice of Proposed Rulemaking,

   including addressing comments from OIRA and other agencies. ED is also balancing

   drafting the Notice of Proposed Rulemaking with a number of other regulatory

   packages. Given the progress to date, ED is now targeting a publication date within the

   next 90 days.

10. In light of ED’s continued progress toward publishing a Notice of Proposed

   Rulemaking and target publication date within the next 90 days, the Parties propose

   that this Court continue the stay of proceedings in this case. The Parties propose that

   they file a joint status report in 90 days to update the Court on ED’s regulatory activities

   related to the Rule and the Parties’ positions on whether the case should continue to be

   stayed.




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Dated: June 28, 2022                 Respectfully submitted,


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